                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
               v.                                     )       CASE NO. DNCW3:04CR190-02
                                                      )       (Financial Litigation Unit)
THOMAS L. JACOBS,                                     )
                                                      )
and                                                   )
                                                      )
DARDEN RESTAURANTS INC.                               )
RETIREMENT INCOME PLAN,                               )
               Garnishee.                             )

                        ORDER OF CONTINUING GARNISHMENT

        THIS MATTER is before the Court on the Answer of Darden Restaurants Inc. Retirement

Income Plan as Garnishee. On June 22, 2006, the Honorable Lacy H. Thornburg sentenced

Defendant to thirty months incarceration for his conviction of Conspiracy to Defraud the United

States, Wire Fraud and Aiding and Abetting, Conspiracy to Commit Money Laundering, and Money

Laundering Aiding and Abetting, all in violation of 18 U.S.C. §§' 371, 1343 and 2, 1956(h),

1956(a)(1)(A)(i) and 2, and 1956(a)(1)(B)(i) and 2. Judgment in the criminal case was filed on July

6, 2006 (Docket No. 138). As part of that Judgment, Defendant was ordered to pay an assessment

of $600 and restitution of $2,752,508.38 to the victims of the crimes. Id.

        On July 25, 2012 the Court entered an Amended Writ of Continuing Garnishment

("Amended Writ") (Docket No. 202) to Garnishee, Darden Restaurants Inc. Retirement Income Plan

("Garnishee"). The United States is entitled to a garnishment of 25% of Defendant’s periodic

pension distributions, net of any mandatory tax withholdings, and has satisfied the prerequisites set

forth in 15 U.S.C. § 1673. Defendant and Garnishee were individually served with the Amended

Writ on July 30, 2012. Garnishee filed an Answer on August 13, 2012 (Docket No. 205) stating that




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at the time of the service of the Amended Writ, Garnishee anticipates owing Defendant a future

monthly pension benefit in the amount of $203.98.

        IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $2,709,972.86 computed through June 25, 2012. Garnishee shall pay

the United States 25% of Defendant’s periodic pension distributions which remain after all

deductions required by law have been withheld, and Garnishee shall continue said payments until

the debt to the Plaintiff is paid in full, or until Garnishee no longer has custody, possession or control

of any property belonging to Defendant, or until further order of this Court.

        Payments should be made payable to the United States Clerk of Court and mailed to the

Clerk of the United States District Court, 401 West Trade Street, Charlotte, North Carolina 28202.

In order to ensure that each payment is credited properly, the following should be included on each

check: Court Number DNCW3:04CR190-02.

        Plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset Program.

Under this program, any federal payment Defendant would normally receive may be offset and

applied to this debt.

        SO ORDERED.                                 Signed: September 6, 2012




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